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                              Presentment Date: March 21, 2022 at 12:00 p.m. (Prevailing Eastern Time)
                             Objection Deadline: March 21, 2022 at 11:00 a.m. (Prevailing Eastern Time)




UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                 Chapter 11

JPA NO. 111 CO., LTD. and                              Case No.: 21-12075 (DSJ)
JPA NO. 49 CO., LTD.,
                                                       (Jointly Administered)

                        Debtors.1


JPA NO. 111 CO., LTD. and
JPA NO. 49 CO., LTD.,

                         Plaintiffs,
                                                       Adv. Pro. No. 22-01004 (DSJ)
v.

FITZWALTER CAPITAL PARTNERS
(FINANCIAL TRADING) LIMITED,

                         Defendant.


FITZWALTER CAPITAL PARTNERS
(FINANCIAL TRADING) LIMITED.,

                         Plaintiff,
                                                       Adv. Pro. No. 22-01006 (DSJ)
v.

JPA NO. 111 CO., LTD. and
JPA NO. 49 CO., LTD.,

                         Defendants.


         NOTICE OF PRESENTMENT OF STIPULATION AND AGREED ORDER




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     The Debtors in these Chapter 11 Cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The
     Debtors’ corporate address is Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki,
     Chiyoda-Ku, Tokyo 100-0013, JAPAN.
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               PLEASE TAKE NOTICE that the above-captioned debtors and debtors in

possession (together, the “Debtors”), through their undersigned counsel, will present

the proposed Stipulated and Agreed Order, annexed hereto as Exhibit 1 (the “Proposed

Order”), to the Honorable David S. Jones, United States Bankruptcy Judge, in his

Chambers, United States Bankruptcy Court for the Southern District of New York, One

Bowling Green, Room 501, New York, New York 10004-1408, at 12:00 p.m. (prevailing

Eastern Time) on March 21, 2022 (the “Presentment Date”), for approval and

signature.

               PLEASE TAKE FURTHER NOTICE that unless a written objection to the

Proposed Order is filed with the Court in accordance with customary practices of the

Court and General Order M-399 and served upon: (i) Togut, Segal & Segal LLP,

counsel for the Debtors, Attn: Frank A. Oswald, Esq. (frankoswald@teamtogut.com)

and Kyle J. Ortiz, Esq. (kortiz@teamtogut.com); and (ii) the chambers of the Honorable

David S. Jones at: jones.chambers@nysb.uscourts.gov, so as to be received by March 21,

2022, at 11:00 a.m. (Prevailing Eastern Time) (the “Objection Deadline”), there will not

be a hearing to consider the Proposed Order absent questions from the Court, and the

Proposed Order may be signed and entered by the Court.

               PLEASE TAKE FURTHER NOTICE that if a written objection to the

Proposed Order is timely filed and served, a hearing (the “Hearing”) will be scheduled

to consider the Proposed Order before the Court at a date and time to be announced.

Objecting parties are required to telephonically appear at any hearing and a failure to

appear may result in relief being granted without further action of the Court.




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               PLEASE TAKE FURTHER NOTICE that General Order M-543, along

with other temporary procedures implemented by the Bankruptcy Court in connection

with the COVID-19 pandemic (including electronic filing procedures for pro se parties)

can be found by visiting www.nysb.uscourts.gov (the “Bankruptcy Court’s Website”)

and clicking on the “Coronavirus COVID-19 Protocol” banner.

               PLEASE TAKE FURTHER NOTICE that if no timely, written objections

are filed and received in accordance with the foregoing, the Proposed Order may be

entered by the Court.

DATED:    New York, New York
          March 13, 2022
                                        TOGUT, SEGAL & SEGAL LLP,
                                        Counsel to the Debtors and Debtors in Possession
                                        JPA NO. 111 CO., LTD. and
                                        JPA NO. 49 CO., LTD.
                                        By:

                                        /s/Kyle J. Ortiz
                                        FRANK A. OSWALD
                                        KYLE J. ORTIZ
                                        BRIAN F. SHAUGHNESSY
                                        JARED C. BORRIELLO
                                        One Penn Plaza, Suite 3335
                                        New York, New York 10119
                                        (212) 594-5000




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